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 1                                                         JUDGE FRANKLIN D. BURGESS
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 6                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 7                                    AT TACOMA
 8
     UNITED STATES OF AMERICA,                  )     NO. CR05-5264FDB
 9                                              )
                   Plaintiff,                   )
10                                              )     ORDER GRANTING STIPULATED
                   vs.                          )     MOTION TO CONTINUE TRIAL
11                                              )     DATE AND PRETRIAL MOTIONS
     ROMULO BAUTISTA-OCAMPO,                    )     DUE DATE
12 GUSTAVO MIRAMONTES-PONCE,                    )
     JESUS FLORES MANZO,                        )
13                                              )
                   Defendants.                  )
14                                              )
15
            Upon the stipulation of the parties to continue the trial date in the above-
16
     captioned case, the Court finds that such a continuance would serve the ends of justice
17
     and outweigh the best interests of the public and the defendant in a speedy trial;
18
     therefore,
19
            IT IS HEREBY ORDERED that the trial date be continued from June 6, 2005 to
20
     September 12, 2005 at 9:00 am. The period of delay resulting from this continuance
21
     from June 6, 2005, up to and including September 12, 2005, is hereby excluded for
22
     speedy trial purposes under 18 U.S.C. §3161(h)(8)(A) and (B).
23
     ///
24
     ///
25
     ///
26
     ///
                                                                          FEDERAL PUBLIC DEFENDER
                                                                                        1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                               Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                          1                                          (253) 593-6710
           Case 3:05-cr-05264-FDB    Document 44      Filed 05/23/05    Page 2 of 2



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 3         IT IS FURTHER ORDERED that the pretrial motions due date be extended to
 4 July 15, 2005.

 5         DONE this 23rd day of May, 2005.
 6

 7                              /s/ Franklin D Burgess
                              JUDGE FRANKLIN D. BURGESS
 8                            UNITED STATES DISTRICT JUDGE
 9 Presented By:

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11
     /s/ Colin A. Fieman                           /s/ Douglas Hill
12 Colin A. Fieman                                  Douglas Hill
     Attorney for Defendant                        Assistant United States Attorney
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                                                                    FEDERAL PUBLIC DEFENDER
                                                                                  1331 Broadway, Ste. 400
     ORDER GRANTING STIPULATED MOTION                                         Tacoma, Washington 98402
     TO CONTINUE TRIAL DATE                    2                                          (253) 593-6710
